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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DJSTRJCT OF TEXAS
                                FORT WORTH DlVISlON

UNITED STATES OF AMERICA

V.                                                      No. 4:23-CR-229-O

KALIL CRAPO (01)

                                     PLEA AGREEMENT

           Kalil Crapo, the defendant; Zachary Ferguson, U, the defendant's attorney; and the

United States of America (the government) agree as follows:

      I.         Rights of the defendant: The defendant understands that the defendant has

the rights:

                 a.     to plead not guilty;

                 b.     to have a trial by jury;

                 c.     to have the defendant's guilt proven beyond a reasonable doubt;

                 d.     to confront and cross-examine witnesses and to call witnesses in the
                        defendant's defense; and

                 e.     against compelled self-incrimination.

           2.    Waiver of rights and plea of guilty: The defendant waives these rights

and pleads guilty to the offense alleged in Count l of the information, charging a

violation of 21 U.S.C. § 846, that is, conspiracy to possess with intent to distribute a

controlled substance. The defendant understands the nature and elements of the crime to




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which the defendant is pleading guilty, and agrees that the factua l resume the defendant

has signed is true and will be submitted as evidence.

       3.     Sentence: The maximu m penalties the Court can impose include:

              a. imprisonment for a peri od not to exceed 20 years;

              b. a fine not to exceed $ 1,000,000, or twice any pec uniary gain to the
                 defendant or loss to the victim(s);

              c. a tem1 of supervised release of not more th an 3 years, which may be
                 mandatory under the law and will fo llow any term of impri sonment. If
                 the defendant viol ates the conditions of supervised release, the
                 defendant could be impri soned for the entire term of supervised release;

              d. a mandatory special assessment of $ 100;

              e. restitution to victim s o r to the communi ty, whi ch may be mandatory
                 under the law, and which the defendant agrees may include restitution
                 arising from all relevant conduct, not limited lo that arising from the
                 offense of conviction alone ;

              f.   costs of incarceration and supervision ; and

              g. forfeiture.

       4.     Immigration consequences : The defendant recogni zes that pl eadin g guilty

may have consequences with respect to the defendant's immigrati on status if the

defendant is not a citizen of the United States. Under federal law, a broad ran ge of crimes

are removable offenses. The defendant understands thi s ma y include the offense to which

the defendant is pl eading guilty, and for purposes of this plea agreement , the defendant

assumes the offense is a remo vable offense. Removal and other immigration

consequences are the subject of a separate proceeding, however, and the defendant

understands that no one, includin g the defendant' s attorney or the district court. can


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predict to a certainty the effect of the defendant's conviction on the defendant's

immigratio n status. The defendant nevertheles s affirms that the defendant wants to plead

guilty regardless of any immigratio n consequenc es that the defendant's plea of gui lty

may entail, even if the consequenc e is the defendant's automatic removal from the U nited

States.

          5.    Court's sentencing discretion and role of the Guidelines: The defendant

understand s that the sentence in this case will be imposed by the Court after considerati on

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. The defendant has reviewed the guidelines with the defendant' s

attorney , but under tands no one can predict with certainty the outcome of the Court's

considerati on of the guidelines in this case. The defendant will not be allowed to

withdraw the defendant' s plea if the defendant's sentence is higher than expected. The

defendant fully understand s that the actual sentence imposed (so long as it is within the

statutory maximum) is solely in the di scretion of the Court.

           6.   Defendant 's agreement . The defendant shall not knowingly provi<le false

 information to the U.S. Probation Office (USPO) , the Court, or the governmen t relating

 to the offense(s) of conviction and all relevant conduct, or any information the defendant

 must provide related to this agreement.

           7.   Mandator y special assessment: The defendant agrees to pay the U .S.

 District Clerk the amount of S 100 in satisfaction of the mandatory special assessment (s)

 prior to sentencing.




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       8.     Financial Obligations: The defendant understands that any financial

obligation imposed by the Court for restitution , fines , or specia l assessments is due and

payable immediately. In the event the Court imposes a schedule for payment, the

defendant agrees that such a schedule represents a minimum payment obl igation and does

not preclude the U.S. Attorney 's Office from pursuing any other means by which Lo

satisfy the defendant's full and immediate ly enforceable financial obligation. The

defendant understands that th e defendant has a continuing obligation to pay in full as

soon as possible any financial obligation imposed by the Court. The defendant further

agrees as follows:

              a . The defendant shall submit an accurate and complete per anal financial

                  statement under oath on demand by the USPO, the Court, or the

                  government, which statement shall include all requested support

                     documents and may be shared between and among the government and

                     the USPO as needed for collection of any financial obligations.

               b. The defendant shall sub mit to interviews by the government and the

                     USPO regarding the defendant's capacity to satisfy any fine, restitution,

                     or special assessment.

               c. The defendant expressly authorizes the United States Attorney's Office

                     to immediately obtain a credit report on the defendant to eva luate the

                     defendant's ability to satisfy any financial obligation imposed by the

                     Court.




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              d. The defendant consents to enrollment upon sentencing in the Treasury

                  Offset Program , at th e so le discretion of the governm ent, whi ch wo uld

                  allow for funds otherwise paya bl e to the defendant from any federal

                  agency, including the Internal Revenue Service and the Social Securi ty

                  Admini stration, to be applied to the defendant' s outstanding financi al

                  obligations imposed by the Court.

       9.     Restitution : The defendant agrees that the Co urt is authorized to order, and

the defendant agrees to pay, restitution for all loss resulting from the offense(s) of

conviction and all relevant conduct, in an amount to be determined by the Court.

Defendant agrees that, for purposes of thi s Pica Agreement, restitution fo r relevant

co nduct shal l include all acts and omiss ions described in USSG ~ lB l. 3(a)( l )(A) and

( I)(B), as wel l as all acts and omi ss ions that were pa1t of the same course of conduct or

common scheme or plan, regardless whether the gro uping rules in USSG ~ 301.2 mi ght

apply to computation of the advi so ry impri sonment range. The defendant understands

that should the Coun order that restitution be paid joint ly and severally with others who

are required to pay restitution for the same loss to victims that credit may not be received

for all payments made by any other person with joint and evera l liability. The defe ndant

agrees that any restituti on ordered to be paid jointly and severa lly rema ins the

responsibility of the defendant until the defendant has pai d the defendant's ordered

amount of restitution in full or the re pective victi m has heen paid in full.

       I 0.    Government's agreement: The government will not bring any additi onal

charges aga in st the defendant based upon the conduct underl ying and related to the


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defendant's plea of guilty. The government will file a Supplement in thi s case, as is

routinely done in every case, even though there may 9r may not be any additional term s.

The government will dismiss, after sentencing, any remaining charges in the pendin g

infonnation. This agreement is limited to the United States Attorney ' s Office for the

Northern District of Texas and does not bind any other federa l, state, or loca l prosecuting

authorities, nor does it prohibit any civil or administrative proceeding against the

defendant or any property .

       11.    Violation of agreement: The defendant understands that if the defendant

violates any provision of this agreement, or if the defendant ' s guilty pica is vacated or

withdrawn, the government will be free from any obligat ions of the agreement and free to

prosecute the defendant for all offenses of which it has kno wledge, including the

reinstatement of charges dismissed pursuant to thi s plea agreement. In the event of such a

violation, vacatur, or withdrawal, the defendant waives all objection based upon delay in

prosecution. If the plea is vacated or withd raw n for any reason other th an a finding that it

was involuntary, the defendant also wa ives all objections to the use against the defendant

of any information or statements the defendant has provided to the government, and any

resulting leads.

       12.    Voluntary plea : This pl ea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promi ses from anyo ne as to what sentence

the Court will impose.




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        13.    Waiver of right to appeal or otherwise challenge sentence : The

defendant waives the defendant 's rights, conferred by 28 U. .C. § 129 1 and 18 U.S.C.

§ 3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an

amount to be determined by the Court. The defendant fmihcr waives the defendant' s right

to contest the conviction, sentence, fine and order of restitution or forfeiture in any

collateral proceeding, including proceedings under 28 U.S.C. ~ 224 1 and 28 U.S.C.

 ~ 2255. The defendant, however, reserve       the ri ghts (a) to bring a direct appeal of (i) a

sentence exceeding the statutory maximum punishment, or (ii ) an arithmetic en-or at

· sentencing, (b) to challenge the voluntariness of the defendant 's pica of guilty or th is

 waiver, and (c) to brin g a claim of ineffective ass istance of counsel.

        14.     Representation of counsel : The defendant has thoroughly reviewed al l

 lega l and factual aspects of this case with the defendant 's attorney and is fully sati sfied

 with that attorney's legal representation . The defendant has rece ived from the defendant ' s

 attorney explanations satisfactory to the defend ant concerning each paragraph of this pica

 agreement, each of the defendant 's rights affected by this agreement, and the alternatives

 available to the defendant other than entering into thi s agreement. Because the defendant

 concedes that the defendant is guilty, and after confe 1Ting with the defendant's attorney,

 the defendant has con cluded that it is in th e defendant' s best interest to ente r into thi s plea

 agreement and all its terms, rather than to proceed to trial in this case.

         15.    Entirety of agreement: Thi s document, including any Supplement filed

 contemporaneously, 1s a complete tatement of the parties' agreement and may not be

 modified unl ess the modification is in writing and signed by all parties. This agreement


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supersedes any and all other promi es, representation ·, understanding s, and agreements

that are or were made between the parti es at any time before the guilty plea is entered in

court.   o promises or representation s have been made by the United States except as et

forth in writing in this pica agreement.


         AGREED TO A D SIG ED thi -Jd.day of             ~ vSJ ,2023.
                                            LEIGHA SlMONTON




                                            Assistant United States Attorney
                                            State Bar of Texas o. 24102642
                                            Te lephone: 8 17-252-5200
                                            Fax : 817-252-5455
                                            matthew.weyb recht@usdoj. gov




         J have read or had read to me thi. plea agreement and have carefull y reviewed
every par    fit with my attorney. r fully understand it and voluntarily agree to it.

                                                   r-"\-13
                                                   Date
 KALIL CRAPO

         r am the defendant' attorney. I have carefu ll y reviewed every pa11 of this plea

                                                         hi~
 agreement with the defendant. To my knowledge and belief, my client ' decision to enter
 into this plea agreeme?;- .: informed and volun~

            Y FERGUSO ,                             Datel   I




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